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                                                SOUTHERN DISTRICT OF TEXAS
UNITED STATES DISTRICT COURT
                                                   GALVESTON DIVISION


JOSEPH LOWRY,                               §
                                            §
             Plaintiff(s),                  §
                                            §
v.                                          §
                                            §
CITY OF LAMARQUE, TEXAS;                    §
KEITH BELL, in his individual               §         No. _______________
capacity and in his official capacity;      §                 Jury
KIMBERLEY YANCY, in her                     §
individual capacity and in her official     §
capacity; and RANDALL ARAGON, in §
his individual capacity and in his official §
capacity,                                   §
                                            §
             Defendant(s).                  §

           PLAINTIFF JOSEPH LOWRY’S ORIGINAL COMPLAINT

       Plaintiff Joseph Lowry (referred to as “Lowry”) brings this action under 42

U.S.C. § 1983 against Defendant City of LaMarque, Texas (referred to as

“LaMarque”); Defendant Keith Bell (referred to as “Bell”); Defendant Kimberley

Yancy (referred to as “Yancy”); and Defendant Randall Aragon (referred to as

“Aragon”). As explained below, LaMarque, Bell, Yancy and Aragon violated Lowry’s

clearly established constitutional rights.
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                                    I. Nature of Suit

      1.     Lowry’s claims arise under 42 U.S.C. § 1983, U.S. Const. amend I and

U.S. Const. amend XIV.

      2.     LaMarque, Bell, Yancy and Aragon violated Lowry’s clearly established

constitutional rights when they banned him from posting on social media, removed

signs for political causes supported by him, threatened his safety, declared him an

enemy of LaMarque and attempted to expel him from the city.

      3.     By way of this action, Lowry seeks equitable relief, injunctive relief, actual

damages, compensatory damages, punitive damages, attorney’s fees, costs, prejudgment

interest and postjudgment interest for violations of his constitutional rights.

                                II. Jurisdiction & Venue

      4.     This action arises under a federal statute, 42 U.S.C. § 1983. 28 U.S.C. §

1331 (federal-question jurisdiction).

      5.     This action seeks to redress the deprivation of rights, privileges, and/or

immunities guaranteed by the United States Constitution. 28 U.S.C. § 1343.

      6.     Venue is proper in this district and division because LaMarque, Bell,

Yancy and Aragon reside in this district and division. 28 U.S.C. § 1391(b)(1).




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      7.     Venue is proper in this district and division because a substantial part of

the events or omissions giving rise to Lowry’s claim(s) occurred in this district and

division. 28 U.S.C. § 1391(b)(2).




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                                       III. Parties

      8.     Lowry is an individual who resides in Galveston County, Texas.

      9.     LaMarque is a political subdivision of the State of Texas and may be

served with process by serving its mayor, clerk, secretary or treasurer. See, Tex. Civ.

Prac. & Rem. Code § 17.024(a).

      10.    Bell is an individual who resides in Galveston County, Texas and who may

be served with process at:

                                     111 Bayou Road
                                 La Marque, Texas 77568

or wherever he may be found; he is sued both in his individual capacity (for monetary

damages) and his official capacity (for injunctive and declaratory relief).

      11.    Yancy is an individual who resides in Galveston County, Texas and who

may be served with process at:

                                     111 Bayou Road
                                 La Marque, Texas 77568

or wherever she may be found; she is sued both in her individual capacity (for monetary

damages) and her official capacity (for injunctive and declaratory relief).

      12.    Aragon is an individual who resides in Galveston County, Texas and who

may be served with process at:

                                     111 Bayou Road
                                 La Marque, Texas 77568


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or wherever he may be found; he is sued both in his individual capacity (for monetary

damages) and his official capacity (for injunctive and declaratory relief).

                                       IV. Facts

       13.     Lowry is a resident of LaMarque, a business owner and an activist.

       14.     He fights hard to (1) reduce the tax burden on LaMarque residents; (2)

ensure that their money is spent wisely and (3) expose corruption and misconduct by

politicians.

       15.     And when elected officials breach the public trust—for whatever reason—

Lowry campaigns to remove and replace them.

       16.     Lowry does all of this with the goal of improving the community he calls

home and raising the living standards for LaMarque residents.

       17.     Like many, Lowry expresses his views on social media platforms,

including on LaMarque’s Facebook page.

       18.     When Lowry criticizes LaMarque and its elected officials, he is speaking

as a citizen on matters of public concern (for example, violations of law, government

corruption, ineptitude, finance and taxes).

       19.     Some elected and other government officials—including, Bell (the mayor

of LaMarque), Yancy (a councilmember) and Aragon (police chief and interim city




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manager)—do not share Lowry’s views; in fact, they strongly disagree with Lowry on

just about everything.

      20.    They also resent having their misconduct made available for public

consumption.

      21.    But, as the Supreme Court put it:

             If there is any fixed star in our constitutional constellation,
             it is that no official, high or petty, can prescribe what shall
             be orthodox in politics, nationalist, religion, or other matters
             of opinion or force citizens to confess by word or act their
             faith therein. If there are any circumstances which permit an
             exception, they do not occur to us.

West Virginia St. Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943).

      22.    And despite this clearly established constitutional right to engage in

dissenting, critical or unpopular speech, LaMarque, Bell, Yancy and Aragon have

censored and punished Lowry for publicly expressing viewpoints on matters of public

concern that are critical of or otherwise unfavorable to them.

      23.    For example, when Lowry posts comments critical of LaMarque’s

administration (including, Bell, Yancy and Aragon) on the city’s Facebook page, his

comments are removed, and he is banned from posting.

      24.    Lowry has resorted to posting under pseudonyms, but they too are deleted

and the accounts he used to post them are banned.




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         25.   Citing city ordinances, political signage for causes with which Lowry is

associated (and that are critical of are LaMarque, Bell, Yancy and Aragon) is frequently

removed even though other signage (that is supportive of LaMarque, Bell, Yancy and

Aragon) is left untouched.

         26.   LaMarque, Bell, Yancy and Aragon and those acting at their direction also

frequently refuse to turn over public records to Lowry in spite of a legal obligation to

do so.

         27.   Lowry has no meaningful way of appealing LaMarque’s decision to ban

him from posting on social media or the censorship of his political signage or the refusal

to turn over public records.

         28.   On top of that, both Yancy (a councilmember) and Aragon (the police

chief and interim city manager) have—during LaMarque city council meetings—

declared Lowry to be a “domestic terrorist.”

         29.   In fact, Aragon (again, during a city council meeting) threatened the safety

of LaMarque residents (including Lowry) at the hands of the city’s police department

if they were critical of Mayor Bell or any other members of city government; his

comments recorded on video. See, https://www.youtube.com/watch?v=TTKt1Q4A9-Q.

         30.   Were that not enough, agents of Bell, Yancy and Aragon (including

Mandalyn Salazar), organized a protest—complete with city-approved permits—



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directly in front of Lowry’s home with the stated purpose of exiling Lowry from the

city.

         31.   The conduct of LaMarque, Bell, Yancy and Aragon evidences an official

policy and longstanding custom intended to chill dissenting speech and manipulate a

public forum so that only viewpoints and speech favorable to and complimentary of

them are expressed.

         32.   The conduct of LaMarque, Bell, Yancy and Aragon has deprived Lowry

of his clearly established rights under the First Amendment and the Fourteenth

Amendment of the United States Constitution; he is, therefore, entitled declaratory

and injunctive relief, actual damages, monetary damages, and attorney’s fees and costs.

         33.   LaMarque has a custom, policy and/or practice of suppressing

constitutionally protected speech.

         34.   Consistent with LaMarque’s custom, policy and/or practice of suppressing

constitutionally protected speech, city officials banned Lowry from posting on social

media, removed signs for political causes supported by him, declared him an enemy of

LaMarque and are attempting to exile him using, among other things, threats against

his safety.




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      35.      LaMarque’s customs, policies and/or practices, individually and in the

aggregate, proximately caused grievous, permanent injury to Lowry, including great

distress, physical pain, mental anguish, fear, suffering and economic damages.

      36.      LaMarque’s, Bell’s, Yancy’s and Aragon’s wrongful acts have directly

and/or proximately caused grievous, permanent injury to Lowry, including great

emotional distress, physical pain, mental anguish, fear, humiliation, embarrassment,

degradation, injury to his reputation, suffering and economic damages.

      37.      LaMarque Bell, Yancy and Aragon engaged in these wrongful acts with

malice or with reckless indifference to Lowry’s clearly established constitutional rights.

                                    V. Count One—
                             Violation of 42 U.S.C. § 1983/
                  Lowry’s First Amendment Rights: Freedom of Speech
            (Bell, Yancy and Aragon in their individual and official capacities)

      38.      Lowry adopts by reference all of the facts set forth above. See, Fed. R.

Civ. P. 10(c).

      39.      Bell, Yancy and Aragon engaged in viewpoint-based discrimination and

censorship of Lowry’s speech about matters of public concern in a public forum in

violation of Lowry's rights under the First Amendment and Fourteenth Amendment.

      40.      Moreover, the decision by Bell, Yancy and Aragon to ban Lowry from

posting about matters of public interest on LaMarque’s Facebook page is an

impermissible prior restraint of Lowry’s speech.


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       41.      Bell’s, Yancy’s and Aragon’s acts were undertaken at all times under the

color of law.

       42.      Bell, Yancy and Aragon were or should have been aware that their acts

were unconstitutional; it is clearly established that an official or another acting under

color of state law cannot censor or restrict speech or punish a speaker based on the

viewpoint expressed regardless of forum.

       43.      No reasonable official would so unlawfully, willingly and arbitrarily

restrict speech on matters of public concern in the same manner as Bell, Yancy and

Aragon have done and continue to do.

       44.      Bell, Yancy and Aragon have knowingly and willfully censored and

punished Lowry, as well others, with a reckless and callous disregard for their

constitutional rights; they went so far as to formally declare Lowry as a public enemy

disregard and to seek his expulsion from LaMarque.

       45.      Bell, Yancy and Aragon were knowingly and willfully undertaken to

retaliate against Lowry for his ongoing and past criticism of them, their activities, and

their policies.

       46.      Bell’s, Yancy’s and Aragon’s actions injured Lowry in a way likely to chill

a person of ordinary firmness from further participation in the public discourse and

democratic process, including on Facebook.



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       47.    As a direct and proximate cause of Bell’s, Yancy’s and Aragon’s unlawful

acts, Lowry has been forced to limit his protected speech and other expressive activity

for fear of further retaliation.

       48.    As a direct and proximate cause of Bell’s, Yancy’s and Aragon’s unlawful

acts, Lowry has been deprived of her constitutional rights and suffered damage to his

reputation, irritation, humiliation, and shame.

       49.    As a result, Lowry is entitled to compensatory and punitive damages

against Bell, Yancy and Aragon.

       50.    Lowry is also entitled preliminary and permanent injunctive relief against

Bell, Yancy and Aragon; their acts of punishing and censoring Lowry and his

constitutionally protected speech because of his viewpoints are likely to continue absent

injunctive relief.

       51.    Lowry has and will continue to suffer considerable and irreparable harm

without injunctive relief; he wants (1) all of his comments to be reinstated on

LaMarque’s Facebook page (2) to continue participating in public discourse on matters

of public interest on the LaMarque Facebook page and (3) to be free of fear of

retaliation for engaging in protected speech related to LaMarque, and its officials,

policies, and conduct.




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      52.      There is no adequate remedy available at law to redress Lowry’s injuries

and to prevent further harm to him and to others.

      53.      Lowry is likely to succeed on the merits of his claims; moreover, there is

substantial public interest in ensuring that Bell, Yancy and Aragon cease engaging in

viewpoint-based restriction and censorship of speech in any public forum.

      54.      Lowry also seeks declaratory relief against Bell, Yancy and Aragon,

attorney’s fees under 42 U.S.C. § 1988 and for any further relief the Court deems just

and proper.

      55.      A justiciable controversy involving the continuing deprivation of Lowry’s

right to speak free of viewpoint discrimination under the First and Fourteenth

Amendment exists between the parties. A declaratory judgment will serve to further

resolve the dispute between the parties and thaw the chilling effects of Bell’s, Yancy’s

and Aragon’s acts and policies and further participation in local government from

Lowry and other citizens.

                                   VI. Count Two—
                             Violation of 42 U.S.C. § 1983/
                   Lowry’s Fourteenth Amendment Rights: Due Process
            (Bell, Yancy and Aragon in their individual and official capacities)

      56.      Lowry adopts by reference all of the facts set forth above. See, Fed. R.

Civ. P. 10(c).




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        57.   Bell, Yancy and Aragon removed Lowry’s protected speech on matters of

public concern on LaMarque’s Facebook page without notice or legitimate expectation.

        58.   Bell, Yancy and Aragon banned and continue to ban Lowry from posting

on LaMarque’s Facebook page without notice or legitimate expectation.

        59.   Lowry has no means to appeal or to otherwise challenge Bell’s, Yancy’s

and Aragon’s removal of his comments and banning him from LaMarque’s Facebook

page.

        60.   Bell’s, Yancy’s and Aragon’s deprivation of Lowry’s First Amendment

rights without notice to him or affording him an opportunity to be heard constitutes a

violation of his due process rights under the Fourteenth Amendment to the United

States Constitution.

        61.   At all times relevant to the allegations herein, Bell, Yancy and Aragon

were clearly aware that their acts and policy and custom were unlawful, and no

reasonable official would so unlawfully, willingly, and arbitrarily restrict speech, censor

speech, and punish speakers in the same manner as Defendants have and continue to

do.

        62.   As a direct and proximate result of Bell’s, Yancy’s and Aragon’s acts, which

were done under the color of law, Lowry is entitled to damages in an amount to be

proven at trial and preliminary and permanent injunctive relief.



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      63.     Lowry also seeks declaratory relief against Bell, Yancy and Aragon,

attorneys’ fees under 42 U.S.C. § 1988 and any further relief the Court deems just and

proper.

      64.     A justiciable controversy involving the continuing deprivation of Lowry’s

due process rights under the Fourteenth Amendment exists between the parties. A

declaratory judgment will serve to further resolve the dispute between the parties and

thaw the chilling effects of Bell’s, Yancy’s and Aragon’s acts and policies and further

participation in local government from Lowry and other citizens

                                VII. Count Three—
                 Monell Claim Against Local Governmental Entity:
            Unconstitutional Local Government Custom, Policy or Practice
                                    (LaMarque)

      65.     Lowry adopts by reference all of the facts set forth above. See, Fed. R.

Civ. P. 10(c).

      66.     At all times relevant, LaMarque developed, ratified, enforced, and

continue to enforce an official city policy and/or longstanding custom of removing and

censoring speech concerning matters of public interest from the LaMarque’s Facebook

page, but only where such speech is critical of, unpopular with, or otherwise unfavorable

to LaMarque and/or its officials (including Bell, Yancy and Aragon).

      67.     LaMarque’s official city policy and/or longstanding custom also calls for,

among other things: (1) banning members of the public from LaMarque’s Facebook


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page; (2) declaring members of the public to be enemies of LaMarque (“domestic

terrorists”) and (3) threatening the safety of members of the public as retaliation and

punishment for expressing critical or unpopular viewpoints on LaMarque’s Facebook

page or in public. LaMarque and its officials have and continue to enforce such bans

without notice, without legitimate explanation, and without an opportunity to appeal

or otherwise challenge the decision.

      68.    This unconstitutional official city policy and/or longstanding custom, as

alleged herein, was developed, ratified, and enforced, and continues to be enforced,

under the color of law. The official city policy and/or longstanding custom was

developed, ratified, enforced, and continues to be enforced through and by Bell, Yancy

and Aragon, who are vested with final policy-making authority over law enforcement

and other official LaMarque matters, where such authority was vested under state law

or by formal and lawful delegation of authority.

      69.    LaMarque’s enforced and ongoing official city policy and/or longstanding

custom of removing and censoring speech constitutes (1) an impermissible viewpoint-

based restriction on speech in violation of the First and Fourteenth Amendments to the

United States Constitution and (2) a violation of banned individuals’ due process rights

under the Fourteenth Amendment to the United States Constitution.




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         70.   At all times relevant, LaMarque and its officials were or should have been

aware that the official policy and/or longstanding custom as alleged were unlawful. It is

clearly established that a state actor cannot censor or restrict speech, or punish a speaker,

based on the viewpoint expressed, regardless of the forum.

         71.   No local government or reasonable official with final policy-making

authority would so unlawfully, willingly, and arbitrarily have developed, ratified and

enforced the unconstitutional official city policy and/or longstanding custom described

above.

         72.   LaMarque’s policy and/or custom extended to not providing notice and

opportunity to be heard to citizens whose comments city officials removed from its

Facebook page and who they banned from the page based on the viewpoint expressed,

despite the clearly established liberty interest engaging in critical and dissenting

expression on a matter of public concern in a public forum.

         73.   LaMarque through its officials developed, ratified, enforced, and

continues to enforce the official city policy and/or longstanding custom with a reckless

and callous disregard for the constitutional rights of citizens.

         74.   As a direct and proximate cause of LaMarque’s unconstitutional official

policy and/or longstanding custom, and the acts undertaken pursuant to it, Lowry has

been barred from communicating on the public LaMarque Facebook page about



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important matters of public interest and his safety threatened which restricts his ability

to participate in public discourse and the democratic process.

       75.    As a direct and proximate cause of LaMarques unconstitutional official

policy and/or longstanding custom, and the acts undertaken pursuant to it, Lowry has

been forced to limit his protected speech and other expressive activity for fear of further

retaliation from city officials.

       76.    As a direct and proximate cause of LaMarque’s unconstitutional official

policy and/or longstanding custom, and the acts undertaken pursuant to it, Lowry has

suffered damage to his reputation, humiliation, irritation, and shame.

       77.    LaMarque’s unconstitutional viewpoint-based official policy and/or

longstanding custom were the moving force behind the deprivation of LaMarque’s First

Amendment rights described above.

       78.    As a result, Lowry is entitled to compensatory damages against LaMarque

under 42 U.S.C. § 1983 in an amount to be proven at trial.

       79.    Lowry is also entitled to preliminary and permanent injunctive relief

against LaMarque and its continued enforcement of its unconstitutional official city

policy and/or longstanding custom. LaMarque’s acts of punishing, censoring, and

chilling Lowry’s constitutionally protected speech based on his viewpoints is likely to

continue absent injunctive relief.



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       80.    As a direct and proximate cause of LaMarque’s unconstitutional official

policy and/or longstanding custom, other citizens have been punished and censored for

expressing certain viewpoints, and have been forced to limit their protected speech and

other protected expressive activity for fear of further retaliation from city officials.

       81.    Absent injunctive relief, the harm alleged herein suffered by Lowry and

others is likely to continue, as LaMarque officials are likely to continue enforcement

and/or resume enforcement of their unconstitutional official city policy and/or

longstanding custom.

       82.    Lowry has and will continue to suffer considerable and irreparable harm

if LaMarque is not enjoined from further enforcing its unconstitutional official policy

and/or longstanding custom. Lowry desires to continue participating in public discourse

on matters of public concern on the city’s Facebook page and other public forums and

in participating in the democratic process. Others have suffered the same or similar

harm. There is no adequate remedy available at law sufficient to redress Lowry’s injures

and prevent further harm to Lowry and others.

       83.    Lowry is likely to succeed on the merits of his claims. Moreover, there is

substantial public interest in ensuring that LaMarque officials cease engaging in

viewpoint-based censorship, restriction, and purposeful chilling of protected speech.




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      84.    Lowry also seeks declaratory relief as to LaMarque’s unconstitutional

official policy and/or longstanding custom, attorneys’ fees and costs under 42 U.S.C. §

1988 and for any further relief the Court deems just and proper.

      85.    A justiciable controversy involving the continuing deprivation of Lowry’s

free speech rights under the First and Fourteenth Amendments exists between the

parties. A declaratory judgment will serve to further resolve the dispute between the

parties and thaw the chilling effects of LaMarque’s policy and/or custom and help

further participation in local government by Lowry and other citizens.

                             VIII. Attorney’s Fees & Costs

      86.    Lowry adopts by reference all of the facts set forth above. See, Fed. R.

Civ. P. 10(c).

      87.    Lowry is authorized to recover attorney’s fees and costs on his claims by

statute and under principles of equity. See, e.g., 42 U.S.C. § 1988 (permitting recovery

of attorney’s fees for claims arising under 42 U.S.C. § 1983).

      88.    Lowry has retained the professional services of the undersigned attorneys.

      89.    Lowry has complied with the conditions precedent to recovering

attorney’s fees and costs.

      90.    Lowry is entitled to recover his attorney’s fees and costs.




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      91.     Lowry has incurred or may incur attorney’s fees and costs in bringing this

lawsuit.

      92.     The attorney’s fees and costs incurred or that may be incurred by Lowry

were or are reasonable and necessary.

                               IX. Conditions Precedent

      93.     All conditions precedent have been performed or have occurred.

                                   X. Jury Demand

      94.     Lowry demands a trial by jury on all issues triable to a jury. See, Fed. R.

Civ. P. 38.

                                   XI. Relief Sought

      95.     Lowry demands the following relief:

              a. declaratory and injunctive relief;

              b. damages in an amount to be established at trial resulting from the
                 deprivation of Lowry’s constitutional rights, including past and future
                 economic loss, physical harm, emotional trauma, loss of privacy, and
                 loss of reputation;

              c. damages in an amount to be established at trial sufficient (1) to punish
                 LaMarque, Bell, Yancy and Aragon for their outrageous and malicious
                 conduct which was undertaken with a reckless disregard for and with
                 deliberate indifference to Lowry’s constitutional rights; (2) to
                 discourage LaMarque, Bell, Yancy and Aragon from engaging in
                 similar conduct in the future and (3) to deter others from engaging in
                 similar unlawful conduct;




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       d. compensatory damages for severe mental anguish in the past and future
          and injury to his reputation resulting from the unlawful actions of
          LaMarque, Bell, Yancy and Aragon;

       e. an award of reasonable and necessary attorney’s fees as specifically
          authorized by, among other things, 42 U.S.C. § 1988;

       f. an award of reasonable and necessary costs and expenses;

       g. prejudgment interest as provided by law;

       h. postjudgment interest as provided by law; and

       i. judgment for all the other relief to which Lowry may be entitled.


                                          Respectfully Submitted,

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